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                    IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________
T. PETER TAGUE, D.C.                        :
                                            :    C.A. NO. 08-720 - CMR
    On Behalf Of Himself And All            :
    Others Similarly Situated,             :
                                            :    CLASS ACTION
                     Plaintiff,             :
                                            :
              v.                            :
                                            :
MPMSoft                                     :
                                            :
                      Defendant.            :
_____________________________________       :

                      NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff T. Peter

Tague, DC, by his undersigned counsel, hereby voluntarily dismisses the above-

captioned action without prejudice.


Dated: December 1, 2008                     /s/ Ann M. Caldwell_____________
                                            Ann M. Caldwell
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                                            T. Peter Tague, DC
